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                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TEXAS
                             BEAUMONT DIVISION


UNITED STATES OF AMERICA                    §
                                            §
                                            §
VS.                                         §    CASE NO. 1:11-CR-78(2)
                                            §
                                            §
CAMILO MONTALVAN CARDOZA                    §

      FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
           BEFORE THE UNITED STATES MAGISTRATE JUDGE

       By order of the District Court, this matter was referred to the undersigned United

States Magistrate Judge for administration of a guilty plea and allocution under Rules 11

and 32 of the Federal Rules of Criminal Procedure. Magistrate judges have the statutory

authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to

28 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5 th Cir. 2002),

cert. denied, 123 S. Ct. 1642 (2003).

       On October 25, 2011, this cause came before the undersigned United States



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Magistrate Judge for entry of a guilty plea by the defendant, Camilo Montalvan Cardoza,

on Count One of the charging Indictment filed in this cause.             Count One of the

Indictment charges that from on or about November 14, 2008, to on or about November

17, 2008, in the Eastern District of Texas, and elsewhere, Julio C. Maristany and Camilo

Montalvan Cardoza, defendants, did knowingly, willfully, and unlawfully conspire,

combine, confederate, and agree with others known and unknown to the Grand Jury, with

intent to defraud, in and affecting interstate and foreign commerce,

       (a) to produce, use and traffic in one or more counterfeit access devices, in

violation of 18 U.S.C. § 1029(a)(1);

       (b) to traffic in and use one or more unauthorized access devices during any one-

year period to obtain anything of value aggregating $1,000 or more during said period, in

violation of 18 U.S.C. § 1029(a)(2);

       (c) to possess fifteen or more devices which are counterfeit or unauthorized access

devices, in violation of 18 U.S.C. § 1029(a)(3).

       Count One further sets forth the following Overt Acts:

       In furtherance of the conspiracy and to effect the objects thereof, and to further

such offenses, the defendants and co-conspirators performed or caused the following the

overt acts in the Eastern District of Texas, among others:

       a. On or about November 17, 2008, Julio C. Maristany and Camilo Montalvan

Cardoza, defendants, were in possession of approximately thirty (30) counterfeit or

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unauthorized devices or credit cards, all in violation of 18 U.S.C. § 1029(b)(2).

       Defendant, Camilo Montalvan Cardoza, entered a plea of guilty to Count One of

the Indictment into the record at the hearing.

       After conducting the proceeding in the form and manner prescribed by Federal

Rule of Criminal Procedure 11 the Court finds:

       a.     That Defendant, after consultation with counsel of record, has knowingly,

freely and voluntarily consented to the administration of the guilty plea in this cause by a

United States Magistrate Judge in the Eastern District of Texas subject to a final approval

and imposition of sentence by the District Court.

       b.     That Defendant and the Government have entered into a plea agreement

which was disclosed and addressed in open court, entered into the record, and placed

under seal.

       c.     That Defendant is fully competent and capable of entering an informed

plea, that Defendant is aware of the nature of the charges and the consequences of the

plea, and that the plea of guilty is a knowing, voluntary and freely made plea. Upon

addressing the Defendant personally in open court, the Court determines that Defendant’s

plea is voluntary and did not result from force, threats or promises. See F ED. R. C RIM. P.

11(b)(2).

       d.     That Defendant’s knowing, voluntary and freely made plea is supported by

an independent factual basis establishing each of the essential elements of the offense and

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Defendant realizes that his conduct falls within the definition of the crimes charged under

18 U.S.C. § 1029(b)(2).

                              STATEMENT OF REASONS

       As factual support for the defendant’s guilty plea, the Government presented a

factual basis. See Factual Basis and Stipulation. In support, the Government would prove

that Defendant, Camilo Montalvan Cardoza, is one and the same person charged in the

Indictment and that the events described in the Indictment occurred in the Eastern District

of Texas and elsewhere. The Government would also have proven, beyond a reasonable

doubt, each and every essential element of the offense alleged in Count One of the

Indictment through the testimony of witnesses, including expert witnesses, and admissible

exhibits. In support of the defendant’s plea, the Court incorporates the proffer of evidence

described in detail in the factual basis, filed in support of the plea agreement.

       Defendant, Camilo Montalvan Cardoza, agreed with and stipulated to the evidence

presented in the factual basis. Counsel for Defendant and the Government attested to

Defendant’s competency and capability to enter an informed plea of guilty. The defendant

agreed with the evidence presented by the Government and personally testified that he was

entering his guilty plea knowingly, freely and voluntarily.

                            RECOMMENDED DISPOSITION

       IT IS THEREFORE the recommendation of the undersigned United States

Magistrate Judge that the District Court accept the Guilty Plea of the defendant which the

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undersigned determines to be supported by an independent factual basis establishing each

of the essential elements of the offense charged in Count One of the charging Indictment

on file in this criminal proceeding. The Court also recommends that the District Court

accept the plea agreement.1 Accordingly, it is further recommended that, Defendant,

Camilo Montalvan Cardoza, be finally adjudged as guilty of the charged offense under

Title 18, United States Code, Section 1029(b)(2).

         Defendant is ordered to report to the United States Probation Department for the

preparation of a presentence report.                     At the plea hearing, the Court admonished the

defendant that the District Court may reject the plea and that the District Court can decline

to sentence Defendant in accordance with the plea agreement, the federal sentencing

guidelines and/or the presentence report because the sentencing guidelines are advisory in

nature. The District Court may defer its decision to accept or reject the plea agreement

until there has been an opportunity to consider the presentence report. See F ED. R. C RIM.



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           “(3) Judicial Consideration of a Plea Agreement.
(A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
agreement, reject it, or defer a decision until the court has reviewed the presentence report.
(B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
(4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
(5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
(A) inform the parties that the court rejects the plea agreement;
(B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
an opportunity to withdraw the plea; and
(C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
toward the defendant than the plea agreement contemplated.” F ED . C RIM . P. 11(c)(3)-(5).


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P. 11(c)(3). If the Court rejects the plea agreement, the Court will advise Defendant in

open court that it is not bound by the plea agreement and Defendant may have the

opportunity to withdraw the guilty plea, dependent upon the type of the plea agreement.

See F ED. R. C RIM. P. 11(c)(3)(B). If the plea agreement is rejected and Defendant still

persists in the guilty plea, the disposition of the case may be less favorable to Defendant

than that contemplated by the plea agreement. Defendant has the right to allocute before

the District Court before imposition of sentence.

                                     OBJECTIONS

       Objections must be: (1) specific, (2) in writing, and (3) served and filed within

fourteen (14) days after being served with a copy of this report.         See 28 U.S.C. §

636(b)(1). A party’s failure to object bars that party from: (1) entitlement to de novo

review by a district judge of proposed findings and recommendations, see Rodriguez v.

Bowen, 857 F.2d 275, 276-77 (5 th Cir. 1988), and (2) appellate review, except on grounds

of plain error of unobjected-to factual findings and legal conclusions accepted by the

district court, see Douglass v. United Servs. Auto. Ass’n., 79 F.3d 1415, 1417 (5 th Cir.

1996) (en banc).

       The constitutional safeguards afforded by Congress and the courts require that,

when a party takes advantage of his right to object to a magistrate’s findings or

recommendation, a district judge must exercise its nondelegable authority by considering

the actual evidence and not merely by reviewing and blindly adopting the magistrate’s

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report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5 th Cir. 1983);

United States v. Elsoffer, 644 F.2d 357, 359 (5 th Cir. 1981) (per curiam).


                   SIGNED this the 27th day of October, 2011.




                                                    ____________________________________
                                                    KEITH F. GIBLIN
                                                    UNITED STATES MAGISTRATE JUDGE




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